                                   Case 2:22-cv-03378-SB-MRW Document 1 Filed 05/18/22 Page 1 of 8 Page ID #:1




                               1 The Cardoza Law Corporation
                                 Michael F. Cardoza, Esq. (SBN: 194065)
                               2 Mike.Cardoza@cardozalawcorp.com
                               3 Lauren B. Veggian, Esq. (SBN: 309929)
                                 Lauren.Veggian@cardozalawcorp.com
                               4 548 Market St., #80594
                               5 San Francisco, CA 94104
                                 Telephone: (415) 488-8041
                               6 Facsimile: (415) 651-9700
                               7 Attorneys for Plaintiff,
                                 Rasmus Lee
                               8
                               9
                              10                     UNITED STATES DISTRICT COURT
                              11                               FOR THE
THE CARDOZA LAW CORPORATION




                                                    CENTRAL DISTRICT OF CALIFORNIA
                              12
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                                    RASMUS LEE,                           Case No.: 2:22-cv-03378
                              13
                                              Plaintiff,                  COMPLAINT FOR DAMAGES
                              14                                          FOR VIOLATIONS OF:
                                                           v.
                              15                                            1.) FAIR DEBT COLLECTION
                                    I.C. SYSTEM, INC.,                          PRACTICES ACT, 15 U.S.C.
                              16                                                §§ 1692 ET SEQ.; AND
                              17              Defendant.                    2.) ROSENTHAL FAIR DEBT
                                                                                COLLECTION PRACTICES
                              18                                                ACT CAL CIV §§ 1788, ET
                                                                                SEQ.
                              19
                                                                             DEMAND FOR JURY TRIAL
                              20
                                   ///
                              21
                              22 ///
                              23 ///
                              24
                                   ///
                              25
                              26
                              27
                              28

                                   COMPLAINT FOR DAMAGES
                                   Case 2:22-cv-03378-SB-MRW Document 1 Filed 05/18/22 Page 2 of 8 Page ID #:2




                               1                                            INTRODUCTION
                               2 1.    This is a case about a debt collector who tried to collect money from a consumer
                               3       who is a victim of identity theft.
                               4 2.    RASMUS LEE (“Plaintiff”), by his attorney, brings this action for actual
                               5       damages, statutory damages, attorneys fees, and costs, against I.C. SYSTEM,
                               6       INC. (“Defendant”) for violations of the Fair Debt Collection Practices Act, 15
                               7       U.S.C. §§ 1692 et seq. (“FDCPA”) and the Rosenthal Fair Debt Collection
                               8       Practices Act, Cal. Civ. Code §§ 1788 et seq. (“RFDCPA”), both of which
                               9       prohibit debt collectors from engaging in abusive, deceptive and unfair practices.
                              10 3.    Plaintiff makes these allegations on information and belief, with the exception
                              11       of those allegations that pertain to the Plaintiff, or to the Plaintiff’s counsel,
THE CARDOZA LAW CORPORATION




                              12       which Plaintiff alleges on personal knowledge.
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13 4.    While many violations are described below with specificity, this Complaint
                              14       alleges violations of the statutes cited in their entirety.
                              15 5.    All violations by Defendant were knowing, willful, and intentional, and
                              16       Defendant did not maintain procedures reasonably adapted to avoid any such
                              17       violations.
                              18 6.    Unless otherwise indicated, the use of a Defendant’s name in this Complaint
                              19       includes all agents, principles, managing agents, employees, officers, members,
                              20       directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
                              21       representatives, and insurers of that Defendant named.
                              22                                JURISDICTION AND VENUE
                              23 7.    Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states
                              24       that such actions may be brought and heard before “any appropriate United States
                              25       district court without regard to the amount in controversy,” 28 U.S.C. § 1331,
                              26       which grants this court original jurisdiction of all civil actions arising under the
                              27       laws of the United States, and pursuant to 28 U.S.C. § 1367 for pendent state law
                              28       claims.

                                   COMPLAINT FOR DAMAGES                                                     PAGE 1 OF 6
                                   Case 2:22-cv-03378-SB-MRW Document 1 Filed 05/18/22 Page 3 of 8 Page ID #:3




                               1 8.    This action arises out of Defendant’s violations of the FDCPA, and the
                               2       RFDCPA.
                               3 9.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because the acts and
                               4       transactions occurred here, Plaintiff resides here, and Defendant transacts
                               5       business here.
                               6                                 FDCPA AND RFDCPA
                               7 10. In enacting the FDCPA, Congress found that:
                               8      a.    There is abundant evidence of the use of abusive, deceptive, and unfair debt
                               9            collection practices by many debt collectors.         Abusive debt collection
                              10            practices contribute to the number of personal bankruptcies, to marital
                              11            instability, to the loss of jobs, and to invasions of individual privacy.
THE CARDOZA LAW CORPORATION




                              12      b.    Existing laws and procedures for redressing these injuries are inadequate to
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13            protect consumers.
                              14      c.    Means other than misrepresentation or other abusive debt collection
                              15            practices are available for the effective collection of debts.
                              16      d.    Abusive debt collection practices are carried on to a substantial extent in
                              17            interstate commerce and through means and instrumentalities of such
                              18            commerce. Even where abusive debt collection practices are purely intrastate
                              19            in character, they nevertheless directly affect interstate commerce.
                              20      e.    It is the purpose of this title to eliminate abusive debt collection practice by
                              21            debt collectors, to insure that those debt collectors who refrain from using
                              22            abusive debt collection practices are not competitively disadvantaged, and to
                              23            promote consistent State action to protect Consumers against debt collection
                              24            abuses. 15 U.S.C. § 1692.
                              25 11. Similarly, when enacting the RFDCPA, the California Legislature found that:
                              26            The banking and credit system and grantors of credit to consumers are
                              27            dependent upon the collection of just and owing debts. Unfair or
                                            deceptive collection practices undermine the public confidence which
                              28

                                   COMPLAINT FOR DAMAGES                                                      PAGE 2 OF 6
                                   Case 2:22-cv-03378-SB-MRW Document 1 Filed 05/18/22 Page 4 of 8 Page ID #:4




                               1            is essential to the continued functioning of the banking and credit
                                            system and sound extensions of credit to consumers. Cal. Civil Code
                               2            § 1788.1(a)(1).
                               3
                                   12. The FDCPA and the RFDCPA are both strict liability statutes. That is, a
                               4
                                       plaintiff need not prove intent or knowledge on the part of the debt collector to
                               5
                                       establish liability. See Gonzales v. Arrow Fin. Servs., LLC, 660 F.3d 1055,
                               6
                                       1060-61 (9th Cir. 2011); Donohue v. Quick Collect, 592 F.3d 1027, 1030 (“[t]he
                               7
                                       FDCPA is a strict liability statute that makes debt collectors liable for violations
                               8
                                       that are not knowing or intentional”).
                               9
                                   13. To further protect consumers, claims under the FDCPA and RFDCPA are to be
                              10
                                       judged according to the “least sophisticated debtor” or “least sophisticated
                              11
THE CARDOZA LAW CORPORATION




                                       consumer” standard. Gonzales at 1061.            This standard is lower than the
                              12
    SAN FRANCISCO, CA 94104




                                       “reasonable debtor” standard, and is specifically designed to protect consumers
     548 MARKET ST. #80594




                              13
                                       of below average and sophistication or intelligence. Id. In addition, a plaintiff
                              14
                                       need not even have actually been misled or deceived by the debt collector’s
                              15
                                       communication. Rather, liability depends on whether the hypothetical least
                              16
                                       sophisticated debtor – someone who is uninformed and naïve – would have
                              17
                                       likely been misled. Id.; see also Tourgeman v. Collins Financial Servs., 755
                              18
                                       F.3d 1109, 1119 (9th Cir. 2014).
                              19
                                                                          PARTIES
                              20
                                   14. Plaintiff is a natural person who resides in Los Angeles County, California.
                              21
                                       Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3) and
                              22
                                       “Debtor” as that term is defined by Cal. Civ. Code § 1788.2(h).
                              23
                                   15. Defendant I.C. System, Inc. is a Minnesota corporation operating from an
                              24
                                       address of 444 Highway 96 East, St. Paul, MN 55127, and is a “Debt Collector”
                              25
                                       as that term is defined by 15 U.S.C. § 1692a(6) and Cal. Civ. Code § 1788.2(c)
                              26
                                       because it regularly uses the mails and/or the telephone to collect, or attempt to
                              27
                                       collect, directly or indirectly, defaulted consumer debts that it did not originate. It
                              28

                                   COMPLAINT FOR DAMAGES                                                       PAGE 3 OF 6
                                   Case 2:22-cv-03378-SB-MRW Document 1 Filed 05/18/22 Page 5 of 8 Page ID #:5




                               1       operates a nationwide debt collection business and attempts to collect debts from
                               2       consumers in virtually every state, including consumers in the State of California.
                               3       Its principal, if not sole, business purpose is the collection of defaulted consumer
                               4       debts originated by others, and, in fact was acting as a debt collector as to the
                               5       delinquent consumer debt it attempted to collect from Plaintiff.
                               6 16. This case involves money due or owing or alleged to be due or owing from a
                               7       natural person by reason of a consumer credit transaction. As such, this action
                               8       arises out of a “consumer debt” and “consumer credit” as those terms are
                               9       defined by Cal. Civ. Code § 1788.2(f).
                              10                                 FACTUAL ALLEGATIONS
                              11 17. Plaintiff is an individual residing in Los Angeles County, California.
THE CARDOZA LAW CORPORATION




                              12 18. Plaintiff is informed and believes, and thereon alleges, that at all times relevant,
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13       Defendant conducted and continues to conduct business in the State of
                              14       California.
                              15 19. Defendant’s business consists solely of the collection of delinquent consumer
                              16       debts.
                              17 20. Plaintiff is a victim of Identity Theft.
                              18 21. In March of 2020, Plaintiff discovered that he was the apparent victim of Identity
                              19       Theft and that someone had used his identity to open one or more Cox
                              20       Communication accounts in his name.
                              21 22. Plaintiff filed a Police Report to that effect under penalty of perjury with the Los
                              22       Angeles Police Department.
                              23 23. Cox hired Defendant to collect that debt from Plaintiff.
                              24 24. On July 8, 2021, Defendant dunned Plaintiff for $1,525.46.
                              25 25. On information and belief, Defendant has dunned Plaintiff additional times during
                              26       the 12 months preceding the filing of the instant action.
                              27                                   ACTUAL DAMAGES
                              28 ///

                                   COMPLAINT FOR DAMAGES                                                     PAGE 4 OF 6
                                   Case 2:22-cv-03378-SB-MRW Document 1 Filed 05/18/22 Page 6 of 8 Page ID #:6




                               1 26. Plaintiff has suffered actual damages as a result of these illegal collection and
                               2       intimidation tactics by this Defendant in the form of invasion of privacy, personal
                               3       embarrassment, loss of personal reputation, loss of productive time, nausea, and
                               4       feelings of fear, anxiety, hopelessness, anger, persecution, emotional distress,
                               5       frustration, upset, humiliation, and embarrassment, amongst other negative
                               6       emotions.
                               7                       CAUSES OF ACTION CLAIMED BY PLAINTIFF
                               8                                         COUNT I
                               9                        VIOLATION OF § 1692E OF THE FDCPA
                              10 27. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              11       as though fully stated herein.
THE CARDOZA LAW CORPORATION




                              12 28. A debt collector violates § 1692e of the FDCPA when it uses any false, deceptive,
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13       or misleading representation or means in connection with the collection of any
                              14       debt.
                              15 29. Defendant violated § 1692e when it, among other qualifying actions and
                              16       omissions, willfully misrepresented the character, amount, or legal status of the
                              17       alleged debt.
                              18                                        COUNT II
                              19                       VIOLATION OF § 1788.17 OF THE RFDCPA
                              20 30. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              21       as though fully stated herein.
                              22 31. A defendant violates § 1788.17 of the RFDCPA when it fails to comply with
                              23       the provisions of 15 U.S.C. § 1692b to 1692j, inclusive.
                              24 32. Defendant violated § 1788.17 of the RFDCPA when it willfully engaged in
                              25       conduct, the natural consequence of which was the violation of 15 U.S.C. §
                              26       1692e.
                              27                                  PRAYER FOR RELIEF
                              28 WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:

                                   COMPLAINT FOR DAMAGES                                                    PAGE 5 OF 6
                                   Case 2:22-cv-03378-SB-MRW Document 1 Filed 05/18/22 Page 7 of 8 Page ID #:7




                               1            a) Award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) (FDCPA)
                               2               and pursuant to Cal. Civ. Code § 1788.30 (RFDCPA), against Defendant
                               3               and for Plaintiff, and,
                               4            b) Award of statutory damages in the amount of $1000.00 pursuant to 15
                               5               U.S.C. § 1692k(a)(1) (FDCPA) against Defendant and for Plaintiff, and,
                               6            c) Award of statutory damages in the amount of $1000.00 pursuant to Cal.
                               7               Civ. Code § 1788.30 (RFDCPA) against Defendant and for Plaintiff, and,
                               8            d) Award of costs of litigation and reasonable attorney’s fees pursuant to 15
                               9               U.S.C. § 1692k(a)(1) (FDCPA) and pursuant to Cal. Civ. Code § 1788.30
                              10               (RFDCPA), against Defendant and for Plaintiff, and,
                              11            e) Award to Plaintiff of such other and further relief as may be just and
THE CARDOZA LAW CORPORATION




                              12               proper.
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13                            TRIAL BY JURY IS DEMANDED.
                              14 33. Pursuant to the Seventh Amendment to the Constitution of the United States of
                              15       America, Plaintiff is entitled to, and demands, a trial by jury.
                              16
                              17 Respectfully submitted,
                              18                                          THE CARDOZA LAW CORPORATION
                              19 DATED: May 18, 2022                      BY: /S/ MICHAEL F. CARDOZA
                                                                          MICHAEL F. CARDOZA, ESQ.
                              20
                                                                          LAUREN B. VEGGIAN, ESQ.
                              21                                          ATTORNEYS FOR PLAINTIFF
                                                                          RASMUS LEE
                              22
                              23
                              24
                              25
                              26
                              27
                              28

                                   COMPLAINT FOR DAMAGES                                                   PAGE 6 OF 6
                                   Case 2:22-cv-03378-SB-MRW Document 1 Filed 05/18/22 Page 8 of 8 Page ID #:8




                               1           ELECTRONICALLY STORED INFORMATION REQUEST
                               2        This notice is to demand that you preserve all documents, tangible things and
                               3 electronically stored information (“ESI”) potentially relevant to any issues in the
                               4 above-entitled matter. This specifically includes, but is not limited to, all
                               5 information pertaining to the above matter, including specifically all recordings of
                               6 any telephone communication between your company and Plaintiff.
                               7        As used in this request, “you” and “your” or “your client” refers to your
                               8 organizations, and its predecessors, successors in interest, assignees, parents,
                               9 subsidiaries, divisions or affiliates, and their respective officers, directors,
                              10 employees, servants, agents, attorneys, and accountants.
                              11        Much of the information subject to disclosure or responsive to discovery is
THE CARDOZA LAW CORPORATION




                              12 stored on your client’s current and former computer systems and other media and
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13 devices (such as: personal digital assistants, voice-messaging systems, online
                              14 repositories and cell phones).
                              15        Electronically stored information (“ESI”) should be afforded the broadest
                              16 possible definition and includes (for example and not as an exclusive list)
                              17 potentially relevant information whether electronically, magnetically or optically
                              18 stored.
                              19        This preservation obligation extends beyond ESI in yours or your client’s
                              20 care, possession or custody and includes ESI in the custody of others that is subject
                              21 to your client’s direction or control. You must notify any current or former agent,
                              22 attorney, employee, custodian or contractor in possession of potentially relevant ESI
                              23 to preserve such ESI to the full extent of your client’s obligation to do so, and you
                              24 must try to secure their compliance.
                              25
                              26
                              27
                              28

                                   ELECTRONICALLY STORED INFORMATION REQUEST
